                     Case 22-14559      Doc 44         Filed 08/23/24   Page 1 of 4



                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF MARYLAND
                                  BALTIMORE DIVISION

IN RE:                                  )
                                        )
JESSICA D. JONES                        )  Case No.: 22-14559-NVA
                                        )
                                        )  Chapter 13
    Debtor
                                        )
ALLY BANK                               ))
                                         )
    Movant                               )
                                         )
vs.                                      )
                                         )
JESSICA D. JONES                         )
                                         )
    Respondent(s)                        )
                                         )
                                         )
                  MOTION FOR RELIEF FROM AUTOMATIC STAY

       COMES NOW, Ally Bank ("Movant"), complaining of Jessica D. Jones ("Debtor") and files this

Motion for Relief from Stay, and alleges as follows:
       1.   This United States Bankruptcy Court for the District of Maryland has jurisdiction over this

proceeding pursuant to 28 U.S.C. §§ 157 and 1334 and 11 U.S.C. § 362. This is a core proceeding
within the meaning of 28 U.S.C. §§ 157(b)(2)(A), (G), and (O).

       2.   On August 19, 2022, Debtor filed a voluntary bankruptcy petition under Chapter 13 of Title
11 of the United States Code.

       3.   Movant holds a security interest in the vehicle of Debtor identified as a 2017 Acura T LX
Sedan 4D Advance AWD 3.5L V6, V.I.N # 19UUB3F73HA002124 (the "Collateral"). Copies of Retail

Installment Sales Contract and proof of the Notice of Security Interest are attached as Exhibits "A" and

"B", respectively.
       4.   As of filing of the Motion, Debtor owes a contract balance to Movant of $18,574.22.

       5.   The monthly payments are $455.89, due on the 24th day of each month.

       6.   Debtor is in default in payments post petition under the terms of the aforementioned Contract
in the sum of $1,994.56. Additionally, there are unpaid repossession charges in the amount of $0.00, late
                   Case 22-14559            Doc 44     Filed 08/23/24           Page 2 of 4




charges in the amount of $407.96, and other charges in the amount of $0.00. as of August 21, 2024. A

copy of the Payment History is attached as Exhibit "D".

       7.    On information and belief, Debtor may not have the Collateral insured with full coverage
insurance listing Movant as loss payee. Movant demands proof of and maintenance of full coverage

insurance of the Collateral showing Movant as a loss payee.

       8.    Cause to lift the stay exists because Movant’s interest in the Collateral is not adequately

protected pursuant to 11 U.S.C. § 362(d)(1). Movant has not been provided proof of insurance and the
value of Collateral continues to decline.

       9.    Cause to lift the stay exists under 11 U.S.C. § 362(d)(1) because Debtor has defaulted on

payments owed to Movant and the collateral continues to depreciate in value.

       10. Continuation of the automatic stay pursuant to 11 U.S.C. § 362(a) will work real and
irreparable harm to Movant and may deprive Movant of the adequate protection to which it is entitled

under 11 U.S.C. §§ 361 and/or 362.

       11. Movant asks the Court to waive the 14-day stay under Rule 4001(a)(3) for any order
granting relief from the automatic stay because the value of Collateral continues to depreciate.

       12. Movant hereby consents to the continuation of the automatic stay until a hearing is held on
the merits of this motion and hereby waives its right to a hearing within thirty (30) days of the date of this

motion as provided by Section 362(e)(1) of the Bankruptcy Code.
       WHEREFORE, Movant asks the Court to enter an order granting relief from the automatic stay

imposed pursuant to 11 U.S.C. § 362 and waiving the 14-day stay of such order under Rule 4001(a)(3).
In the event that the Court fails to terminate the automatic stay, Movant asks the Court to enter an order
adequately protecting Movant's interest in the Collateral. Movant also asks that any order granted under

this motion shall remain in effect in the event that this case is converted to another bankruptcy chapter.
Movant asks for such other and further relief to which it is justly entitled.
Case 22-14559   Doc 44   Filed 08/23/24   Page 3 of 4




                                 Respectfully submitted:
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                                 Attorney for Ally Bank
                  Case 22-14559          Doc 44      Filed 08/23/24      Page 4 of 4



                                  CERTIFICATION OF SERVICE

I hereby certify that on the 23rd day of August, 2024, I reviewed the Court's CM/ECF system and it
reports that an electronic copy of the Motion for Relief from Automatic Stay will be served electronically

by the Court's CM/ECF system on the following:

Brian A. Tucci, Chapter 13 Trustee
Eric S. Steiner , Attorney for Debtor

I hereby further certify that on the 23rd day of August, 2024, a copy of the Motion for Relief from
Automatic Stay was also mailed first class mail, postage prepaid to:

Jessica D. Jones
7507 Slate Drive
Windsor Mill, MD 21244

Eric S. Steiner
P O Box 17598, Pmb 83805
Baltimore, MD 21297

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